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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

LEXON INSURANCE COMPANY, INC.                      CIVIL ACTION

VERSUS                                             NO. 18-4245

FEDERAL DEPOSIT INSURANCE CORP.,                   SECTION: “B”(1)
as receiver for FIRST NBC BANK



                                  ORDER

     Before the Court is the Government’s Motion for Extension of

Time to File Responsive Pleading (Rec. Doc. 68). Accordingly,

     IT IS ORDERED that the motion for extension of time is

GRANTED. The Government shall file its responsive pleading no

later than April 29, 2019.

     New Orleans, Louisiana, the 9th day of April, 2019.




                                  SENIOR UNITED STATES DISTRICT JUDGE
